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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                CASE NO. 14-24887-MC-SEITZ/LOUIS

   IN RE APPLICATION OF
   HORNBEAM CORPORATION

   REQUEST FOR DISCOVERY PURSUANT
   TO 28 U.S.C. § 1782
                                 /

       SUBPOENA RESPONDENTS’ AND INTERVENORS’ CONSOLIDATED MOTION
        FOR ENTRY OF AN ORDER REQUIRING HORNBEAM CORPORATION TO
       PROVIDE SUBPOENA RESPONDENTS CERTIFICATIONS OF RECIPIENTS OF
        CONFIDENTIAL INFORMATION AND FOR AN ORDER SETTING A FINAL
                 DISCOVERY CUTOFF DATE OF DECEMBER 18, 2018

          Non-party Subpoena Respondents, CC Metals and Alloys, LLC, Felman Production,
   LLC, Felman Trading, Inc., Georgian American Alloys, Inc., Mordechai Korf, Optima
   Acquisitions, LLC, Optima Group, LLC, Optima Fixed Income, LLC, Optima Ventures, LLC,
   Optima International of Miami, Inc., and 5251 36ST, LLC (“Subpoena Respondents”), and
   Panikos Symeou and Halliwel Assets, Inc. (“Intervenors”), pursuant to the Court’s Order dated
   November 5, 2018 [DE 293],1 file this consolidated motion seeking, inter alia: (1) an order
   requiring Applicant Hornbeam Corporation (“Hornbeam”) to provide to Subpoena Respondents
   copies of all Certifications to the Stipulated Protective Order [see DE 224 ¶ 6; DE 288 ¶¶1-3 and
   Ex. A] executed by persons with whom Hornbeam has shared or will be sharing Subpoena
   Respondents’ Confidential Information and Attorneys’ Eyes Only Information (“AEO”) (as
   those terms are defined in the Stipulated Protective Order [DE 224]) produced by Subpoena
   Respondents in this matter (“Certifications”); and (2) an order establishing December 18, 2018,
   as the final cutoff for completion of all discovery in this case.




   1
      Subpoena Respondents’ motion and Intervenors’ motion are unrelated. The Order of
   November 5, 2018 [DE 297] states that “Movants may file a motion, not to exceed ten pages in
   length . . . .” Subpoena Respondents and Intervenors are therefore filing a single, ten page brief,
   addressing the separate disputes.
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       I.      SUBPOENA RESPONDENTS’ MOTION TO REQUIRE HORNBEAM TO
               DISCLOSE WHO IS RECEIVING RESPONDENTS’ CONFIDENTIAL
               INFORMATION

            A. Background
            Subpoena Respondents produced 1,600 pages of Confidential Information on August 1,
   2018, and another 5,239 pages of Confidential Information on September 27 through September
   29, 2018, pursuant to the Court’s Omnibus Order on Discovery Disputes dated September 21,
   2018 [DE 267] (“September 21 Order”). In accordance with the Stipulated Protective Order [DE
   224], the entire production constitutes and was designated “Confidential Information.” Some
   information and, later, deposition testimony, has been designated as AEO Information.
            During the depositions of Subpoena Respondents taken by Hornbeam on October 23, it
   became clear that counsel for Hornbeam had shared confidential information with at least one
   Ukrainian attorney, who appeared at the depositions to assist counsel for Hornbeam during the
   depositions. Counsel for Hornbeam represented that the lawyer was a U.K.-licensed lawyer (a
   British solicitor) when, in fact, she is not. See 10-23-2018 Depo. Tr. at 5.2 The Ukrainian
   lawyer identified herself as a Ukrainian attorney and “legal consultant,” but indicated that she
   was not giving legal advice to any client in this matter.3 See 10-25-2018 Depo. Tr. at 6-7.
            Upon learning that counsel for Hornbeam had shared Confidential Information, the
   undersigned inquired regarding whether the required Certification referenced in the Stipulated
   Protective Order was provided to the Court, and requested a copy of same. See 10-23-2018
   Depo. Tr. at 153-54. Carol Bruce, counsel for Hornbeam, stated that she and her colleagues
   were “officers of the court” and that they had submitted the Certification to the Court. Id.4 To
   inquire further about the Certification for the Ukrainian attorney, the undersigned asked how it
   was submitted to the Court, given the lack of any CM/ECF or other notification from opposing

   2
     All excerpts of deposition transcripts cited herein are contained in Composite Exhibit A,
   which Subpoena Respondents seek to file under seal pursuant to a motion requesting same, filed
   concurrently with this Motion.
   3
      In Hornbeam’s ex parte email communication with the Court, discussed infra, counsel for
   Hornbeam represented that the Certifications were signed by two client representatives and
   lawyers for Hornbeam and Vadim Shulman. This ex parte statement was inconsistent with
   Ukrainian attorney’s representation that she is acting only as a consultant.
   4
      Despite being an officer of this Court – on a pro hac basis – Ms. Bruce failed to disclose that
   she had also shared confidential information with at least one other person. See infra.


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   counsel, and Ms. Bruce explained that it was submitted by email to the magistrate ex parte. Id.
   at 154-55. When the undersigned inquired as to when the ex parte email was sent, Ms. Bruce
   stated that the Certification of the Ukrainian attorney was sent in August or early September
   2018. Id. at 155.
          On October 24, 2018, after renewed request from the undersigned and argument with Ms.
   Bruce on the record (10-24-2018 Depo. Tr. at 6-7), counsel for Hornbeam provided the
   Certification purportedly signed by the Ukrainian attorney, dated September 27, 2018, but
   counsel for Hornbeam did not provide the ex parte email communication regarding same (and
   omitted any mention about the second individual with whom counsel for Hornbeam had shared
   confidential information).5 The same day, the undersigned reiterated his request for the ex parte
   email communication, but Ms. Bruce refused, saying that Subpoena Respondents could get the
   communication from the Court. Id. at 147-149.
          Later that day, the Court issued two Orders: (a) Order Amending Stipulated Protective
   Order (ECF No. 224) [DE 286]; and (b) Order Directing Clerk to File Under Seal Ex Parte Email
   Communication Received Pursuant to Stipulated Protective Order (ECF No. 224) [DE 287].
   Following the entry of the first Order [DE 286], but prior to the entry of the second Order [DE
   287], while the parties were still in depositions, the undersigned once again requested a copy of
   Hornbeam’s ex parte email correspondence, and Ms. Bruce finally agreed to provide the ex parte
   email correspondence to the undersigned. Id. at 278-80.
          When the undersigned finally had access to Hornbeam’s ex parte email communication,
   it became apparent why Ms. Bruce had resisted providing it. Although she insisted that counsel
   for Hornbeam should rely on her representations, the ex parte email demonstrates that several
   misrepresentations had been made. First, contrary to the representation that the Certification of
   the Ukrainian Attorney had been submitted to the Court in August or early September, the email
   was sent on October 2, 2018. Second, the ex parte email contained two Certifications, thereby
   revealing, for the first time, that Confidential Information had been shared with a second




   5
      On the morning of October 24, the legal assistant to the undersigned left a voicemail
   requesting a copy of the ex parte communication, and later that day counsel for Subpoena
   Respondents followed up by phone to request same, at which time the Judicial Clerk stated that
   he was aware of the request.


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   individual, continually omitted from all discussions about the “Certification” (i.e., singular).6
   Third, the ex parte email also represented to the Court that both the Ukrainian attorney and the
   British solicitor are representatives and lawyers for Hornbeam and its ultimate beneficiary,
   Vadim Shulman.7
            B. Memorandum of Law
            The identity of the people with whom Hornbeam has shared and will share Subpoena
   Respondents’ Confidential Information and, perhaps more critically, AEO Information, is
   essential to the continued validity and enforceability of the Stipulated Protective Order.
   Subpoena Respondents and the Court have taken the necessary steps to protect against the
   improper disclosure, dissemination, and use of Confidential Information and AEO Information in
   this matter. Without knowing with whom Hornbeam has shared Confidential Information and
   AEO Information, Subpoena Respondents can neither assess whether a violation of the
   Stipulated Order has occurred (or will occur), nor seek to enforce the terms of same. There is no
   valid reason for withholding the Certifications. No proceedings have been filed anywhere, and
   there is no conceivable prejudice to Hornbeam in providing copies of the Certifications. But
   Hornbeam, which begrudgingly produced copies of two obsolete Certifications,8 refuses to
   provide any of the updated Certifications on the basis that: (1) the Stipulated Protective Order (as
   originally entered or as amended) does not require Hornbeam to furnish copies of the
   Certifications to Subpoena Respondents; and (2) according to Hornbeam, by way of analogy,


   6
     A cursory review of the Certifications raises several, additional, troubling issues, including but
   not limited to: (a) neither of the Certifications contains a standard signature, as both of them,
   instead, contain handwritten printed names; (b) neither of the people referenced in the respective
   Certifications lists an affiliation with any law firm or consulting company; and (c) the
   handwriting for both Certifications—purportedly filled out and signed by two different people—
   appears to be strikingly similar, e.g., the September 27 date contained in both Certifications
   contains the same unique styles for the numbers and letters.
   7
       See supra, footnote 3.
   8
      On October 24, 2018, as more fully discussed infra (and as precipitated by Hornbeam’s ex
   parte email communication with the Court), the Court, sua sponte, entered an order prohibiting
   email communications with chambers and amending the Stipulated Protective Order in two
   ways. See [DE 286]. First, the Court struck the paragraph that required that Certifications be
   filed with the Court and produced to a requesting party upon application and a showing of good
   cause. Id. Second, the Court required execution of a form Certification (attached as Exhibit A to
   the Order) by any recipient of Confidential Information. Id.


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   parties are not required under Rule 26 to disclose non-testifying experts. See correspondence
   between Jorge Guttman and Carol Bruce, attached as Exhibit B. Neither argument is valid.
          The fact that the Stipulated Protective Order does not currently require Hornbeam to
   provide copies of the Certifications is of no moment. Prior to its amendment, the Stipulated
   Protective Order required that the Certifications be kept by the Court and would be provided to
   the requesting party for good cause.9 Subpoena Respondents, thus, had both the assurance that
   the Court had the Certifications and the assurance that Subpoena Respondents had a way to
   obtain them.10 Accordingly, the Court’s amendment of the Stipulated Protective Order cannot be
   read as Hornbeam proposes. Doing so would mean that Hornbeam does not have to account to
   the Court or to Subpoena Respondents for the disclosure or dissemination of Subpoena
   Respondents’ private and confidential information. Hornbeam’s proposed reading would lead to
   the absurd result of putting Hornbeam above the Court in terms of controlling and enforcing the
   Stipulated Protective Order. Rather, it appears that the Court simply does not want to be the
   recipient and custodian of ex parte communications.
          Hornbeam’s second argument, that this issue should be likened to a party’s ability to
   withhold information about non-testifying experts, is completely inapt. This 1782 proceeding is
   not a litigation (i.e., there is no trial and there will be no judgment entered here) but, rather, a
   discovery mechanism. There are no “experts,” testifying or otherwise, in these proceedings. But
   even assuming arguendo that Rule 26(b)(4)(D) applied—and it does not—Subpoena
   Respondents are still entitled to know the identities of any such “consulting experts.” The
   relevant portion of Rule 26 provides:
                  Ordinarily, a party may not, by interrogatories or deposition,
                  discover facts known or opinions held by an expert who has been
                  retained or specially employed by another party in anticipation of
                  litigation or to prepare for trial and who is not expected to be
                  called as a witness at trial. But a party may do so only . . . (ii) on
                  showing exceptional circumstances under which it is impracticable

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      The Stipulated Protective Order entered here was identical to the one entered in the 1782
   proceedings brought by Hornbeam in New York. Presumably, the New York Court, the parties
   to that matter, or both, had a reason for that requirement. But Hornbeam, here, insisted that it
   would stipulate to the entry of an identical order. At the time, Subpoena Respondents could not
   envision that the Court would amend the Stipulated Protective Order as it did.
   10
      The analysis set forth in this Motion undoubtedly constitutes good cause to obtain copies of
   the Certifications.


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                  for the party to obtain facts or opinions on the same subject by
                  other means.
   Fed. R. Civ. P. 26(b)(4)(D)(ii) (emphasis added). Thus, by its very terms, the Rule prevents
   discovery of “facts known” or “opinions held” by a non-testifying expert, not his or her identity.
   In a similar context, where a party sought the identity of non-testifying experts who had received
   AEO Information, this Court (Magistrate Goodman) explained:
                  The Undersigned does not accept Wreal's argument that the
                  requested provision would violate its right to keep the identities of
                  its consultants secret. Rule 26(b)(3)(B) does not prevent disclosure
                  of the identity of a non-testifying expert-it prohibits only the
                  disclosure of “mental impressions, conclusions, opinions, or legal
                  theories.” See generally Ibrahim v. Dep't of Homeland Sec., 669
                  F.3d 983, 999 (9th Cir.2012) (“the rule does not prevent disclosure
                  of the identity of a nontestifying expert, but only ‘facts known or
                  opinions held’ by such an expert”) (quoting Rule 26). See also
                  Baki v. B.F. Diamond Constr. Co., 71 F.R.D. 179 (D.Md.1976)
                  (names and addresses and other identifying information of non-
                  testifying experts may be obtained through interrogatories without
                  any special showing of exceptional circumstances, in the absence
                  of specific facts peculiar to the case).

                  Not only have several courts concluded that the identity of a non-
                  testifying expert is not automatically off limits, but a very recent
                  article in the ABA's Litigation News, entitled “Your Opponent Can
                  Discover Your Experts,” noted the case law permitting the
                  discovery and provided a practice tip-be more circumspect about
                  what one tells consultants.

                  The Undersigned need not determine whether the rule in Baki or
                  in Ager should govern generally. Instead, like the Court in In re
                  Welding Fume Products Liability Litigation, “even if the rule
                  announced in Ager adheres, exceptional circumstances exist in this
                  case to support disclosure.” 534 F.Supp.2d at 768. Because
                  Amazon has demonstrated good cause for the requested provision,
                  the Undersigned will be entering a protective order containing the
                  expert identification clause-albeit one with slightly compressed
                  deadlines for objecting.
   Wreal LLC v. Amazon.Com, Inc., 14-21385-CIV, 2014 WL 7273852, at *4 (S.D. Fla. Dec. 19,
   2014) (Goodman, J.).
          Good cause exists here for requiring Hornbeam to turn over the Certifications. It is
   against a backdrop of misinformation, contradictions, omissions, and other troubling facts



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   surrounding the Certifications that Hornbeam takes the position that it can conceal (from
   Subpoena Respondents and from the Court) the identities of those who have or will be receiving
   Subpoena Respondents’ Confidential Information and AEO Information. Subpoena Respondents
   seek the Certifications to protect their confidential materials, assess risk, and prevent improper
   disclosure—not to obtain a litigation advantage.
             Hornbeam also takes the position that it should not have to share Certifications with
   Subpoena Respondents because Hornbeam would not ask Subpoena Respondents for its
   Certifications, but this is a false equivalency. This matter is not a litigation in which both parties
   have sought discovery from each other, so Subpoena Respondents are not receiving confidential
   information from Hornbeam.          And Subpoena Respondents do not need permission from
   Hornbeam to share their own Confidential Information with others. Hornbeam’s equivalency
   argument is baseless.
             Here, Subpoena Respondents have a right to protect their confidential information but are
   handicapped from doing so if they are not made aware of the people in possession of that
   confidential information. Subpoena Respondents should not be relegated to sitting-duck status,
   and should not be forced to rely on Hornbeam’s assurances that Subpoena Respondents’
   Confidential and AEO Information is being treated as it is supposed to be.
             C. Conclusion
             Based on the foregoing, Subpoena Respondents respectfully request that the Court enter
   an order requiring Hornbeam to provide copies of all existing and prospective Certifications, and
   granting Subpoena Respondents any such other and further relief that the Court deems just and
   proper.
      II.        INTERVENORS’ MOTION TO SET FINAL DISCOVERY CUTOFF
             A. The Court Should Set a Final December 18, 2018 Discovery Cutoff
             Intervenors seek a final cutoff for completion of the single remaining discovery
   authorized by the June 25, 2018 Omnibus Order – the Specialty Steel Works Rule 30(b)(6)
   deposition.     Despite the October 7, 2018 discovery cutoff, the Court permitted extending
   completion of the Korf Subpoena Respondents’ depositions until October 26, 2018, see October
   1, 2018 Hearing Transcript at 70, ECF 291, Ex. 1, and allowed the parties to agree to a slightly
   later date for the Specialty Steel deposition, which was set for November 8. Ex. 2, Email corr.
   October 2-3, 2018.       Nonetheless, despite already have been provided a month extension,



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   Specialty Steel demanded the deposition be rescheduled to December 18 in Chicago. Intervenors
   agreed, but requested that this be the final cutoff.    Hornbeam and Specialty Steel refused,
   asserting a blizzard or some other Act of God may prevent the deposition. The Court should not
   permit the deposition beyond December 18.
          First, this matter has been delayed long-enough. It is nearing its four-year anniversary.
   Since the February 11, 2015 Ex Parte Order authorized discovery, Hornbeam repeatedly has
   delayed proceedings, belying its intention to file new BVI claims. Here, Hornbeam delayed
   serving subpoenas until March 2016. Thereafter, the Court briefly stayed proceedings while the
   Eleventh Circuit considered an appeal in the related Alabama action, finding “Hornbeam is
   responsible for its own delay”, July 13, 2016 Order, ECF 54, and, then, after the Eleventh
   Circuit ruled in September, 2016, Hornbeam moved to continue the stay, Motion, ECF 68, and
   then to extend the stay again, Report and Motion, ECF 71,          while Shulman was secretly
   preparing to file the claims in London based on the same allegations and seeking the same
   damages as Hornbeam promised to file in the in BVI. Thereafter, the Court vacated the order
   granting discovery to Shulman after his English claims were dismissed, April 27, 2018 Order,
   ECF 196, and granted in part, denied in part Intervenors’ Objections to the discovery granted to
   Hornbeam, Omnibus Order, ECF 209. Since then, Intervenors and Korf Subpoena Respondents
   promptly moved to complete proceedings, contacting Hornbeam to prepare the Rule 26
   discovery plan, see Discovery Plan, ECF 215, and meeting and conferring on discovery disputes,
   which resulted in the September 21, 2018 Omnibus Order, ECF 267, which limited the duration
   of the Korf Subpoena Respondents’ depositions and document production.
          Second, as in all cases, there should be a discovery cutoff so this matter can be closed.11
   As this Court well knows, all cases filed in this District carry a discovery cut-off that is
   rigorously enforced. This case should be treated no differently and certainly not given more
   latitude than a case pending in this Court. Despite the Court’s expectation at the October 1, 2018
   hearing that the Specialty Steel deposition would be concluded “in the early weeks of


   11
      In addition to the Specialty Steel issue, Intervenors’ motion to dismiss Hornbeam, ECF 237
   and motion to dismiss Bracha and Shulman, ECF 253, have been fully briefed since August 24
   and September 19, 2018, respectively. The September 21, 2016 POA, ECF 222-1, authorizing
   counsel to represent Hornbeam until September 21, 2018 has long expired. Hornbeam cannot
   issue a new POA because it has been dissolved and Panama authorities will not register a POA
   from a dissolved corporation. See Fourth Vlieg Dec., ECF 250-1, ¶10-12, 17.


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   November”, see October 1, 2018 Transcript, Ex. 1, at 72, Specialty Steel refused to produce its
   Rule 30(b)(6) witness before December 18 because it was inconvenient for its counsel and
   witness. Hornbeam and Specialty Steel should not be permitted to keep these proceedings open
   indefinitely, especially given that this is the last bit of discovery outstanding. The December 18
   date should be enforced.
          Third, there are real consequences to further delay.       The July 12, 2018 Stipulated
   Protective Order, ¶15, ECF 224 sets a one-year deadline for destruction of discovery if new BVI
   proceedings are not filed. In the related New York §1782 proceeding, the Court sanctioned
   Hornbeam for serving subpoenas without notice in violation of Rule 45, and initially required the
   destruction of highly confidential banking records of Warren Steel, Halliwel, and related
   persons, such as Messrs. Kolomoisky and Bogolyubov, if Hornbeam’s promised BVI
   proceedings were not filed within one year. See New York Amended Protective Order dated
   February 1, 2016, ¶15, Ex. 3.    In July 2017, the New York court refused to enforce the deadline
   in response to Hornbeam’s arguments that the Florida discovery had not been completed and
   Shulman’s London proceeding was pending.             Hornbeam should not be permitted to avoid
   destroying discovery obtained in New York indefinitely by extending these Florida proceedings
   – particularly given it obviously does not need discovery to file new BVI proceedings, as
   evidenced by its own claims filed in Ohio state court in June 2015 and Shulman’s claims filed in
   England in May 2017. Once the Specialty Steel deposition is concluded, Symeou intends to seek
   a final deadline for destroying the highly intrusive discovery of personal bank records taken in
   New York.
          B. Conclusion
          Based on the foregoing, Intervenors respectfully request that the Court enter an order
   setting a final discovery cutoff date of December 18, 2018; and granting Intervenors any such
   other and further relief that the Court deems just and proper.
          Respectfully submitted,




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            CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1
          I HEREBY CERTIFY that Jorge D. Guttman, Esq., counsel for Subpoena Respondents,
   met and conferred with Carol E. Bruce, Esq., counsel for Hornbeam, regarding the substance and
   relief sought by Subpoena Respondents this Motion in a good faith attempt at resolving the
   issues raised herein, and Ms. Bruce represented that Hornbeam does not agree to relief requested
   herein. The undersigned also conferred with Bruce Marks, Esq., counsel for Intervenors, and
   Andrew R. Kruppa, Esq., counsel for Specialty Steel Works Incorporated f/k/a Optima Specialty
   Steel, Inc., regarding the substance and relief sought by this motion in a good-faith attempt at
   resolving the issues raised herein, and both counsel for Intervenors and counsel for Specialty
   Steel Works Incorporated represented that they do not oppose the relief requested herein.
                                               GUNSTER
                                               600 Brickell Avenue, Suite 3500
                                               Miami, Florida 33131
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                                               By:     /s/ Jorge D. Guttman
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                                               Georgian American Alloys, Inc.;Mordechai Korf;
                                               Optima Acquisitions, LLC;Optima Group, LLC;
                                               Optima Fixed Income, LLC; Optima Ventures, LLC;
                                               Optima International of Miami, Inc.; and
                                               5251 36ST, LLC




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            CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1

          I HEREBY CERTIFY that Bruce Marks, Esq., counsel for Intervenors, met and conferred

   with Carol E. Bruce, Esq., counsel for Hornbeam, regarding the substance and relief sought by

   Intervenors in this Motion in a good faith attempt at resolving the issues raised herein, but she

   represented that Hornbeam does not agree to the relief sought herein. The undersigned also met

   and conferred with Jorge D. Guttman, Esq., counsel for Subpoena Respondents, and Andrew R.

   Kruppa, Esq., counsel for Specialty Steel Works Incorporated f/k/a Optima Specialty Steel, Inc.,

   regarding the substance and relief sought by this motion in a good-faith attempt at resolving the

   issues raised herein. Counsel for Subpoena Respondents represented that they do not object to

   the relief sought herein. Counsel for Specialty Steel Works Incorporated represented that it does

   not agree to the relief sought herein.

                                                       MARKS & SOKOLOV, LLC
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                                                       By: /s/ Bruce Marks
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                                                       and Halliwel Assets Inc.




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 30, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record identified on the attached Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                  By: /s/ Jorge D. Guttman
                                                         Jorge D. Guttman




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   Halliwel Assts, Inc., Panikos Symeou,            and Intervenors Bracha Foundation and
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